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     FRANK H. COFER III, ESQ.
 1
     Nevada Bar No. 11362
 2   COFER & GELLER, LLC
     601 South Tenth Street
 3   Las Vegas, Nevada 89101
     P: (702) 777-9999
 4   F: (702) 777-9995
 5   Attorney for Defendant Karapetyan

 6                                    UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF NEVADA
 7
     THE UNITED STATES OF AMERICA,                        Case no. 2:16-cr-230-GMN-CWH
8
                         Plaintiff,
 9                                                        DEFENDANT VAGE KARAPETYAN’S
                   vs.                                    UNOPPOSED MOTION AND [PROPOSED]
10                                                        ORDER TO PERMIT DEFENDANT TO
     DEVIN THOMPSON and VAGE KARAPETYAN,                  TRAVEL TO THE STATE OF CALIFORNIA
11
                                                          FROM 11/11/2016 TO 11/13/2016
                         Defendants.
12
13
14         NOW COMES Defendant VAGE KARAPETYAN, by and through FRANK H. COFER III, ESQ.

15   of COFER & GELLER, LLC, and hereby moves this Honorable Court to temporarily permit

16   Defendant to travel to the State of California during the dates of 11/11/2016 to 11/13/2016

17   so that he may attend his son’s birthday celebration.

18         This motion is unopposed by the U.S. Attorney’s office and is unopposed by pretrial

19   services, and is made and based on all the papers and pleadings on file herein and the

20   declaration of counsel filed herewith.

21         RESPECTFULLY SUBMITTED this 7th day of November, 2016.

22
                                                          COFER & GELLER, LLC
23
24                                                 By:       /s/ Frank Cofer
                                                          FRANK H. COFER III, ESQ. (NV #11362)
25                                                        Attorney for Defendant Karapetyan
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 1                                     DECLARATION OF COUNSEL
 2             FRANK H. COFER III, ESQ., makes the following declaration:
 3             1.    I am an attorney licensed to practice law in all state courts in the State of
 4   Nevada, before the United States District Courts in the district of Nevada, and before the
 5   Ninth Circuit Court of Appeals.
 6             2.    I am retained to represent Defendant VAGE KARAPETYAN in the instant action
 7   and am making this declaration in support of DEFENDANT VAGE KARAPETYAN’S UNOPPOSED
8    MOTION AND [PROPOSED] ORDER TO PERMIT DEFENDANT TO TRAVEL TO THE STATE OF
 9   CALIFORNIA FROM 11/11/2016 TO 11/13/2016 that is filed herewith. I have personal
10   knowledge and am competent to testify to the matters stated herein.
11             3.    I am informed and I believe that my client, Defendant VAGE KARAPETYAN,
12   wishes to travel to San Francisco, California in order to attend his son’s birthday celebration
13   during the dates of 11/11/2016 to 11/13/2016. However, his current conditions of release
14   prohibit him from traveling outside of the State of Nevada.
15             4.    I have personally communicated with U.S. Pretrial Services employee SAMIRA
16   BARLOW (responsible for supervising the defendant) and AUSA ROBERT KNIEF (responsible
17   for prosecuting this case) regarding this matter. Both of these individuals have stated that
18   they have no opposition to the instant motion.
19             5.    I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the
20   foregoing is true and correct except as to those matters stated herein upon information and
21   belief.
22             EXECUTED on November 7th, 2016 at Las Vegas, Nevada.
23
                                                           COFER & GELLER, LLC
24
25                                                  By:       /s/ Frank Cofer
                                                           FRANK H. COFER III, ESQ. (NV #11362)
26
                                                           Attorney for Defendant Karapetyan
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 1                                            ORDER
 2         THIS MATTER having come before the Court via an unopposed motion, and good
 3   cause appearing therefor,
 4         IT IS HEREBY ORDERED that the conditions of pretrial release as to Defendant VAGE
 5   KARAPETYAN are temporarily modified in order to permit him to travel to the State of
 6   California during and throughout the following dates only: Friday, November 11, 2016
 7   through Sunday, November 13, 2016.
                        8th
8          DATED this ______ day of November, 2016.
 9
10
11                                     By:
                                             UNITED STATES DISTRICT / MAGISTRATE JUDGE
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 1                             CERTIFICATE OF ELECTRONIC SERVICE
 2         I HEREBY CERTIFY that all parties to this action are registered members of the court’s
 3   electronic filing system, and that on Monday, November 7, 2016, a true and correct copy of
 4   the foregoing document:
 5    DEFENDANT VAGE KARAPETYAN’S UNOPPOSED MOTION AND [PROPOSED] ORDER TO
      PERMIT DEFENDANT TO TRAVEL TO THE STATE OF CALIFORNIA FROM 11/11/2016 TO
 6                                  11/13/2016
 7   was filed with the court’s electronic filing system and that service was accomplished
8    automatically.
 9
10
                                    By:                   /s/ April Burt
11
                                          APRIL B. BURT
12                                        An employee of COFER & GELLER, LLC
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